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                         UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts

 JOSE MARIA DECASTRO, an individual               )   Case No. 1:22-cv-11421
                                                  )
 Plaintiff,                                       )   MOTION FOR LEAVE TO FILE
                                                  )   SECOND SUPPLEMENT TO FIRST
 v.                                               )   AMENDED COMPLAINT
                                                  )
 JOSHUA ABRAMS, an individual, et al.,            )
                                                  )
 Defendants.                                      )
 ____________________________________


      MOTION FOR LEAVE TO FILE SECOND SUPPLEMENT TO FIRST AMENDED

                                          COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 15(d), Plaintiff Jose DeCastro (“Plaintiff” or

“I”), respectfully moves this Honorable Court for leave to file Plaintiff’s Second Supplemental

Complaint to add Defendant Katherine Peter (“Peter”)’s latest copyright infringement of a

previously unpublished video as mentioned in ECF No. 97.

                                           ARGUMENT

       Courts may permit supplemental pleadings “setting out any transaction, occurrence, or

event that happened after the date of the pleading to be supplemented.” Fed. R. Civ. P. 15(d).

The First Circuit has recognized that “courts customarily have treated requests to supplement

under Rule 15(d) liberally.” U.S. ex rel. Gadbois v. PharMerica Corp., 809 F.3d 1, 7 (1st Cir.

2015). “This liberality is reminiscent of the way in which courts have treated requests to amend

under Rule 15(a)’s leave ‘freely give[n]’ standard.” Id.; see also Keith v. Volpe, 858 F.2d 467,

473 (9th Cir. 1988) (“Rule 15(d) is intended to give district courts broad discretion in allowing
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supplemental pleadings” as a “tool of judicial economy and convenience” and “[i]ts use is

therefore favored.”)

     Here, Plaintiff filed his First Amended Complaint (“FAC”) on November 16, 2022

(Document #62 in the record). After which, Peter infringed on another of Plaintiff’s copyrighted

videos as mentioned in ECF No. 97. Plaintiff could not have known that Peter would have

behaved in this tortious manner until after his FAC.

     No factors exist that would support denial of Plaintiff’s motion. See PharMerica Corp.,

809 F.3d at 7 (listing some factors a court may consider in denying a motion to supplement).

Plaintiffs have not unreasonably delayed attempting to supplement; this motion comes less than

30 days after the facts arose, with two holidays during that time. The supplemental pleading will

not unduly prejudice the Defendant and will help prevent her having to participate in another

related suit, and Peter decided to make further infringements during this action. Plaintiffs’

supplemental claim is not futile; Plaintiffs’ have pleaded allegations, which, if taken as true as

they must be at this stage, state a claim for which the Court can grant relief. See Hatch v. Dep't

for Children, Youth & Their Families, 274 F.3d 12, 19 (1st Cir.2001) (an “amendment is not

deemed futile as long as the proposed amended complaint sets forth a general scenario which, if

proven, would entitle the plaintiff to relief against the defendant on some cognizable theory.”).

                                         CONCLUSION

      Since supplementation will aid in the speedy and effective relief of Plaintiff’s related

claims, I respectfully request the Court grant Plaintiff’s motion for leave to file a Second

Supplemental Complaint.




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                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: January 11, 2023                           Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
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                                                  Santa Monica, CA 90404
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                                                  Pro Se


                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                  /s/ Jose DeCastro




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